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U.S. DISTRICT COURT

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UNITED STATES DISTRICT COURT TE D TOF TEXAS

FOR THE NORTHERN DISTRICT OF ate
DALLAS DIVISION mene
SEP 7 7005

 

 

THE VERIZON EMPLOYEE
BENEFITS COMMITTEE,

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Plaintiff,
v.

MELISSA ADAMS,

C2 Lr LP LP LN SN LP SP Or 2

Defendant.

 

COMPLAINT SEEKING RECOVERY OF OVERPAYMENT, CONSTRUCTIVE
TRUST AND INJUNCTIVE RELIEF

 

This is an action brought by the Verizon Employee Benefits Committee to recoup
overpayments of benefits from the Verizon Management Pension Plan (the “Plan’”’) made
to Defendant Melissa Adams as a result of an administrative error.

Parties

1. Plaintiff, the Verizon Employee Benefits Committee, is the
“administrator” and “fiduciary” of the Plan as that term is defined in the Employee
Retirement Income Security Act of 1974 (“ERISA”). See ERISA §§ 3(16) & 3(21), 29
U.S.C. §§ 1002(16) & (21). The Plan is an ERISA-covered pension plan within the
meaning of ERISA § 3(1), 29 U.S.C. § 1002(1). As administrator and fiduciary of the
Plan, the Verizon Employee Benefits Committee has the discretionary authority to
interpret the Plan, to exercise control over disbursements of assets in the Plan, and to

perform various other tasks necessary to administer the Plan. Responsibility for day-to-

 

COMPLAINT SEEKING RECOVERY OF OVERPAYMENT - Page 1

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day administration of the Plan (including recoupment of overpayments) has been
delegated by the Verizon Employee Benefits Committee to the pension administration
department within the Verizon human resources department in Coppell and Irving, Texas.

2. Defendant Melissa Adams (“Adams”) is a former participant in the Plan.
She resides at 2344 Thornton Avenue, Harrisburg, Pennsylvania 17109.

Jurisdiction and Venue

3. This Court has jurisdiction over the subject matter of this action pursuant
to 29 U.S.C. §§ 1132(a)(3) & (e)(1), and under 28 U.S.C. § 1331.

4. Venue is proper in this Court pursuant to 29 U.S.C. § 1132(e)(2) because

the Plan is administered in this judicial district.

Factual Background

5. Defendant Adams is a former employee of Verizon Communications Inc.
and/or its subsidiaries and predecessor corporations (“Verizon”). Adams’ original
employment with Verizon began on February 2, 1972. On May 31, 1996, Adams retired
and received a lump sum pension benefit in full satisfaction of the pension she earned
under the Plan.

6. On June 29, 1998, Adams was rehired by Verizon and remained employed
until she retired a second time on November 22, 2003. Following her second retirement,
in January 2004, Adams received a second lump sum pension distribution from the Plan

in the amount of $381,039.67.

 

COMPLAINT SEEKING RECOVERY OF OVERPAYMENT - Page 2

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7. Under the terms of the Plan, Adams was entitled to receive a lump sum
benefit of $160,932.73 from the Plan based on her second retirement in November of
2003.

8. However, in January 2004, due to an administrative error, the Verizon
Benefits Center mistakenly paid Adams a lump sum benefit of $381,039.67. This benefit
was $220,106.94 more than Adams was entitled to receive under the terms of the Plan.
This overpayment was based on a benefit calculation that did not properly offset the prior
pension distribution that Adams received in May 1996. The Plan’s terms provide the
specific basis for calculating Adams’ pension. Under the terms of the Plan, Adams is not
entitled to the full amount of the lump sum benefit that was paid to her in January 2004.

9. After discovering the overpayment made to Adams, Verizon’s pension
department wrote to Adams on behalf of the Verizon Employee Benefits Committee
explaining the payment error and requesting that Adams remit the overpayment to the
Plan.

10. Adams has not returned the overpaid pension funds to the Plan, nor has
she indicated that she will return the overpaid funds.

11. This action seeks to recover funds paid by the Plan and that are in the
constructive possession and legal control of Adams, but belong in good conscience to the

Plan.

 

COMPLAINT SEEKING RECOVERY OF OVERPAYMENT - Page 3

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Count I

12. Plaintiff incorporates by reference the factual allegations of paragraphs 1-
11 above.

13. Pursuant to 29 U.S.C. § 1132(a)(3), plaintiff is entitled to appropriate
equitable relief to enforce the terms of the Plan providing that an employee with the
salary and service history of Adams receive a lump sum benefit of $160,932.73, but
nothing more, and to enforce the requirements of 29 U.S.C. § 1104. Plaintiff is entitled
to impose a constructive trust on the overpayment of $220,106.94, wherever it may be
found, and to receive equitable restitution in the same amount to recoup the assets that
rightfully belong to the Plan.

14. _—_— Plaintiff has no adequate remedy at law.

WHEREFORE, Plaintiff prays for the following relief:

(a) That the Court enter a preliminary injunction prohibiting Defendant
Adams from dissipating, transferring, pledging, spending, transferring, disposing, or
encumbering the overpayment of $220,106.94, except to transfer the overpayment to the
Plan or its agent, until this case can be resolved on the merits. Failure to grant such relief
would result in a substantial threat that plaintiff will suffer irreparable harm.

(b) That the Court enter a judgment for plaintiff on Count I, impose a
constructive trust in the amount of $220,106.94 on the funds and/or equitable liens on the
accounts, funds, or real property where those funds may be traced, and grant plaintiff the
remedy of equitable restitution in the amount of $220,106.94.

(c) That the court award pre- and post-judgment interest.

 

COMPLAINT SEEKING RECOVERY OF OVERPAYMENT - Page 4

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(d) That the court award plaintiff attorney’s fees pursuant to 29 U.S.C.

§ 1132(g).

(e) Any other relief as the Court deems appropriate under the circumstances.

Respectfully submitted this Kesar of eed ne/\— 2005.

MUNSCH HARDT KOPF & HARR, P.C.
4000 Fountain Place

1445 Ross Avenue

Dallas, Texas 75202-2790

(214) 855-7500 (telephone)

214) 855-7584 (telecopy)

  

 

eevarden, #50511849

ATTORNEYS FOR PLAINTIFF

 

COMPLAINT SEEKING RECOVERY OF OVERPAYMENT - Page 5

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CIVIL COVER SHEET

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The JS 44 civil cover sheet and the formation contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
nited States in September 1974, 1s required for the use of the Clerk of Court for the purpose

provided by local rules of court. This form, approved by the Judicial Conference of the

of initiating the civil docket sheet

(SEE INSTRUCTIONS ON THE REVERSE OF THE FORM )

 

I. (a) PLAINTIFFS

Verizon Employee Benefits Committee

(b) County of Residence of First Listed Plaintiff

(EXCEPT IN US PLAINTIFF CASES)

DEFENDANTS
Melissa Adams 3

-05 CV-

1793M

  

 

(c) Attorney’s (Firm Name, Address, and Telephone Number)

Grant H. Teegarden, Munsch Hardt Kopf & Harr, P.C.,\1445 Ros
Avenue, Suite 4000, Dallas, Texas 75202; (214) 855-7500 CLERK,

 

II. BASIS OF JURISDICTION

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Plaintiff (US Government Not a Party) Citizen of This State (}1 =) .1 Incorporated or Principal Place oO4 74
of Business In This State
(12 US Government (74 Diversity Citizen of Another State C12 = C} 2° Incorporated and Principal Place Os5 5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a 113 (© 3 Foreign Nation O66 6
Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
[ CONTRACT TORTS JFORFEITURE/PENALTY BANKRUPTCY. “OTHER STATUTES ]
(7 110 Insurance PERSONAL INJURY PERSONAL INJURY ]CJ 610 Agriculture (71 422 Appeal 28 USC 158 (1 400 State Reapportionment
[J 120 Marine [1] 310 Airplane (1 362 Personal Injury - 7} 620 Other Food & Drug ([] 423 Withdrawal (J 410 Antitrust
7 130 Miller Act [J 315 Airplane Product Med Malpractice 7} 625 Drug Related Seizure 28 USC 157 (1 430 Banks and Banking
[J 140 Negotiable Instrument Liability (1 365 Personal Injury - of Property 21 USC 881 1 450 Commerce
(1¥ 150 Recovery of Overpayment [[] 320 Assault, Libel & Product Liability [1 630 Liquor Laws PROPERTY RIGHTS ~ (J 460 Deportation
& Enforcement of Judgment Slander (1 368 Asbestos Personal Cl 640 R R. & Truck (_} 820 Copyrights [7] 470 Racketeer Influenced and
CF 151 Medicare Act i} 330 Federal Employers’ Injury Product [1 650 Airline Regs (7 830 Patent Corrupt Organizations
{] 152 Recovery of Defaulted Liability Liability [J 660 Occupational ("T 840 Trademark [1 480 Consumer Credit
Student Loans (1 340 Marne PERSONAL PROPERTY Safety/Health 1 490 Cable/Sat TV
(Excl Veterans) (7) 345 Marme Product (1 370 Other Fraud [1 690 Other 1 810 Selective Service
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of Veteran’s Benefits (1 350 Motor Vehicle (J 380 Other Personal J 710 Fair Labor Standards Ir § 861 HIA (1395ff/) Exchange
(1 160 Stockholders’ Suits [“} 355 Motor Vehicle Property Damage Act ("I 862 Black Lung (923) (875 Customer Challenge
(1 190 Other Contract Product Liability CJ 385 Property Damage (J 720 Labor/Mgmt Relations [ff 863 DIWC/DIWW (405(g)) 12 USC 3410
(7) 195 Contract Product Liability 4} 360 Other Personal Product Liability ([]_ 730 Labor/Mgmt Reporting [7] 864 SSID Title XVI (J 890 Other Statutory Actions
(1 196 Franchise Injury & Disclosure Act [J 865 RSI (405(g)) (1 891 Agricultural Acts
REAL PROPERTY CIVIL RIGHTS ___] PRISONER PETITIONS §C) 740 Railway Labor Act [FEDERAL TAX SUITS JCJ 892 Economic Stabilization Act
(J 210 Land Condemnation LA 441 Voting LJ 510 Motions to Vacate 4} 790 Other Labor Litigation ['T 870 Taxes(US Planuff | ("1 893 Environmental Matters
[1] 220 Foreclosure [442 Employment Sentence 1X}. 791 Empl Ret Inc or Defendant) 1 894 Energy Allocation Act
[J 230 Rent Lease & Ejectment (1 443 Housmg/ Habeas Corpus: Security Act (7 871 IRS-Third Party (1 895 Freedom of Information
(71 240 Torts to Land Accommodations [530 General 26 USC 7609 Act
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(71 290 All Other Real Property (} 445 Amer w/Disabilities - {7} 540 Mandamus & Other Under Equal Access
Employment (J 550 Civil Rights to Justice
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Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment

 

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Brief description of cause; ERISA section 502(a)(3), complaint seeking reimbursement of overpayment and constructive trust

 

 

 

 

 

VIE. REQUESTED IN [J CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only 1f demanded in complaint.
COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: [7 Yes No
VIH. RELATED CASE(S) 5
IF ANY (See instructions) UDGE DOCKET NUMBER
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